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                                                         November 4, 2020

  VIA ECF
  Hon. Loretta A. Preska
  United States District Court
  Southern District of New York
  500 Pearl Street
  New York, NY 10007-1312

           Re:      United States v. Donziger, No. 19 Cr. 561 (LAP); 11 Civ. 691 (LAK)

  Dear Judge Preska:

          We write on behalf of the United States pursuant to the Court’s October 28, 2020 order
  directing the defendant to submit proposed procedures for remote defense witness testimony by
  November 2 and the Government to respond by November 4. 1 See Dkt. 196 at 11-12.

        In a November 2 letter, the defendant provided the following “Draft Video Protocols
  Opposed by Defense” for remote defense witness testimony:

           1. To the extent possible, please choose a location that can provide you with the
              best and most consistent internet access.

           2. To the extent possible, please choose a location that can provide you quiet and
              solitude so that you will not be interrupted or distracted while testifying.

           3. If possible, choose a location where you can be alone. If you need an
              interpreter, that person may be present while you testify.

           4. Even though you are not in a courtroom, the Judge is requiring you to testify
              as if you were in court. You will take an oath to tell the truth, your testimony
              will be recorded and will become part of the official court record for this case.



  1
   In the defendant’s November 2, 2020 letter, the defense once again: i) seeks an adjournment until COVID-19
  dissipates; ii) attacks the integrity and professionalism of the special prosecutors; and iii) accuses the Court of bias
  and of making decisions based on something other than the facts and the law. Dkt. 197. While we obviously
  disagree with the defense, we limit our response to the proposed procedures, as directed by this Court’s October 28,
  2020 Order.
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             The private prosecutor may ask you questions, and the defense attorney for
             Mr. Donziger may ask you questions.

         5. Once you are done testifying, the Judge will thank you and you are free to
            disconnect and your “court session” will be complete.

Dkt. 197 at 4.

       Other than defense proposal number 4, we do not object to the defendant’s protocol.
With respect to defense proposal number 4, given that this protocol is for a defense remote
witness, it will be the defense asking the questions and then the prosecutors may or may not ask
questions of the witness.

       The Government proposes the following additional procedures for remote defense
witness testimony: 2

         1. The defense shall identify for the Court each witness and the specific location from
            where the named witness will be testifying at least 48 hours before the testimony.

         2. To the extent the defense intends to introduce any exhibits during the direct
            examination, the defense shall identify and provide copies of those exhibits to be used
            during that examination to the Court and the special prosecutors at least 24 hours
            before the witness’s testimony. The defense will arrange for a copy of those exhibits
            to be available to the witness at the location where the witness is testifying.

         3. Insofar as any witness requires an interpreter, a court-certified interpreter will
            provide the translation from the courtroom at 500 Pearl Street. Thus, to
            ensure such services will be available, the defense must provide notification of
            the need for an interpreter and the language at issue by November 10, 2020.

         4. The witness may not consult with anyone other than the Court, the attorney
            conducting the examination, and, if applicable, the court-certified interpreter while
            they are testifying. This rule does not apply to consultation during breaks in
            testimony.

         5. Other than the transcription by the official court reporter, the testimony and
            court proceedings may not be recorded, live-streamed, or otherwise broadcast.
            The witness and anyone present with the witness during their testimony (such



2
  For any subpoenaed defense witnesses in the United States for whom the Court approves the use of remote
testimony, our position remains as stated in our October 14, 2020 submission – that such witnesses should testify via
two-way videoconference at a federal courthouse closest to their residence, with court personnel present. This
parallels the procedure that the Court approved for remote testimony from Government witness David Zelman. Dkt.
179 at 4 (citing Dkt. 152 at 3, 6-7).
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          as the witness’s attorney) will be informed of that prohibition. Photographs of
          the testimony are also prohibited.

       6. The defense will use the S.D.N.Y. videoconference platform “Jabber” for the
          witness’s remote testimony, and must successfully test that platform at least
          72 hours before the testimony. To the extent there is an issue with that
          platform, the defense will immediately advise the Court. If the defense wants
          to use another videoconference platform for a witness’s remote testimony, the
          defense must make an application to the Court no later than November 9,
          2020.

       7. The oath will be administered by the Court’s courtroom deputy.


                                           Respectfully submitted,


                                           ______/s/___________________
                                           Rita M. Glavin
                                           Brian P. Maloney
                                           Sareen K. Armani
                                           Special Prosecutors on behalf
                                           of the United States
